                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                     Case No. 07-CR-303

SANDRA L. JACKSON,

                       Defendant.


                      AMENDED1 ORDER FOR PSYCHOLOGICAL
                      EXAMINATION & COMPETENCY HEARING


       On February 22, 2008, the defendant moved for an examination and competency hearing

pursuant to 18 U.S.C. § 4241. Based upon the representations made by counsel for the defendant,

and pursuant to 18 U.S.C. §§ 4241(a), and 4242(a), the Court finds that there is reasonable cause

to believe that the defendant presently may be suffering from a mental disease or defect rendering

her mentally incompetent to the extent that she is unable to understand the nature and consequences

of the proceedings against her, to assist properly in her defense, or the defendant may have been

suffering from a mental disease at the time of the offense.

       Based upon that finding, and pursuant to 18 U.S.C. § 4241, § 4242, and § 4247(b) and (c),

       IT IS HEREBY ORDERED that:

       1. A hearing will be held to determine the mental competency of the defendant.




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         This Order is amended to allow a psychological evaluation in place of the psychiatric
evaluation previously ordered.


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       2. In anticipation of the competency hearing, a psychological examination and evaluation

of the defendant will be undertaken to determine whether the defendant is suffering from a mental

disease or defect rendering her mentally incompetent to the extent that she is unable to understand

the nature and consequences of the proceedings against her, to assist properly in her defense, or

whether the defendant was suffering from a mental disease at the time of the offense.

       3. To facilitate the examination and evaluation, the defendant is committed to the custody

of the Attorney General for placement at the nearest suitable facility for a reasonable period not to

exceed forty-five (45) days. Upon the application of the director of the facility, and upon a showing

of good cause that additional time is necessary to observe and evaluate the defendant, this placement

may be extended for up to thirty (30) days. Upon completion of the examination and evaluation of

the defendant, a psychological report is to be filed with the Court and distributed to the parties.

       4. Any period of delay resulting from the examination and evaluation of the defendant shall

be excluded from computation under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(1)(A).

       SO ORDERED this          17th      day of March, 2008.



                                                       s/ William C. Griesbach
                                                      WILLIAM C. GRIESBACH
                                                      United States District Judge




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